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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


 EDDIE GRANT, JR., JENNIFER HAMILTON;
 MICHAEL STIEFEL; CONNECTICUT
 CITIZENS DEFENSE LEAGUE, INC.; AND
 SECOND AMENDMENT FOUNDATION, INC.,

          Plaintiffs,                                           CIV. NO. 3:22-cv-01223-JBA

 v.

 EDWARD M. LAMONT, JR., in his official capacity;                       June 21, 2023
 JAMES ROVELLA, in his official capacity; PATRICK
 GRIFFIN, in his official capacity; MARGARET E.
 KELLY, in her official capacity; DAVID R.
 APPLEGATE, in his official capacity; JOSEPH T.
 CORRADINO, in his official capacity;
 SHARMESE L. WALCOTT, in her official capacity;                 PLAINTIFFS’ MOTION
 DAVID R. SHANNON, in his official capacity;                    FOR LEAVE TO FILE A
 MICHAEL A. GAILOR, in his official capacity;                    SECOND AMENDED
 CHRISTIAN WATSON, in her official capacity;                    COMPLAINT AND FOR
 JOHN P. DOYLE, JR., in his official capacity, PAUL               LEAVE TO AMEND
 J. NARDUCCI, in his official capacity; PAUL J.                     MOTION FOR
 FERENCEK, in his official capacity; MATTHEW C.                     PRELIMINARY
 GEDANSKY, in his official capacity, MAUREEN                        INJUNCTION
 PLATT, in her official capacity; ANNE F.
 MAHONEY, in her official capacity,

          Defendants.




       Pursuant to Fed. R. Civ. P. 15, the Plaintiffs respectfully move for leave to file a second

amended complaint and to amend their motion for a preliminary injunction (Dkt. 28). Their

proposed amendment is necessary to protect their rights from the restrictions imposed by the

newly enacted Conn. Public Act No. 23-53 and to promote the efficient resolution of the
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common issues of law that arise from both the laws complained of in this matter and the new

provisions of Conn. Public Act No. 23-53. To facilitate this amendment, the Plaintiffs request

that the Court grant them leave to file the attached amended complaint immediately and to

file their amended motion for a preliminary injunction within seven (7) days.

        In support thereof, the undersigned represent as follows:

        1.      On June 6, 2023, Defendant Lamont signed Conn. Public Act No. 23-53 – some

of its provisions taking effect immediately.

        2.      Conn. Public Act No. 23-53, § 23 expands the definition of “assault weapons”

as defined in Conn. Gen. Stat. § 53-202a to include firearms that the Plaintiffs own (i.e.,

firearms that are neither a rifle, pistol, revolver, nor shotgun – colloquially known as “any

other firearm” or simply “others”), thus subjecting Plaintiffs to a registration requirement

under Connecticut law and prohibiting them from purchasing new and additional ”others.”

        3.      Conn. Public Act No. 23-53, § 23’s inclusion of “others” in the definition of

“assault weapons” is subject to the same legal arguments and challenge brought by the

Plaintiffs in this action.

        4.      To adequately pursue their challenge to Connecticut’s now-revised “assault

weapons” ban, the Plaintiffs must state additional factual allegations in their complaint that

arise from Conn. Public Act No. 23-53, and they must amend their motion for a preliminary

injunction to include their challenge to Conn. Public Act No. 23-53, § 23.

        5.      The Plaintiffs’ proposed amendment will not substantially alter the legal

arguments that the Plaintiffs have advanced in this case as the same legal standard applies.
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         6.      To properly amend the Plaintiffs’ motion for a preliminary injunction, counsel

for the Plaintiffs will need to obtain supplemental affidavits from each individual Plaintiff

indicating their intent to purchase “others” in the future. Counsel estimates needing a week to

do so.

         7.      Counsel for the Plaintiffs have already discussed the need to amend both their

complaint and their motion for a preliminary injunction with counsel for the Defendants, and

the nature of those discussions show that both parties believe that this amendment is necessary

to adequately address the issues in this case.

         8.      For these reasons, the Plaintiffs ask the Court for leave to file a second amended

complaint and for one week to file an amended motion for a preliminary injunction.
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Dated: June 21, 2023                Respectfully submitted,

                                        //s// Doug Dubitsky
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                                    Attorneys for the Plaintiffs
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                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the foregoing

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by email to all parties and counsel of record who have appeared by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                 /s/ Cameron L. Atkinson/s/
